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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Williams Industrial Services, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                    Mailing address, if different from principal place of
                                                                                                 business

                                  200 Ashford Center North, Suite 425
                                  Atlanta, GA 30338
                                  Number, Street, City, State & ZIP Code                         P.O. Box, Number, Street, City, State & ZIP Code

                                  DeKalb                                                         Location of principal assets, if different from principal
                                  County                                                         place of business

                                                                                                 Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.wisgrp.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Williams Industrial Services, LLC                                                            Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 2371

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                           Chapter 7
     debtor filing?
                                           Chapter 9
     A debtor who is a “small
     business debtor” must check           Chapter 11. Check all that apply:
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must
     check the second sub-box.                                   The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against            Yes.
     the debtor within the last 8
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number

10. Are any bankruptcy cases              No
    pending or being filed by a           Yes.
    business partner or an
    affiliate of the debtor?




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Debtor    Williams Industrial Services, LLC                                                               Case number (if known)
          Name

     List all cases. If more than 1,
     attach a separate list                          Debtor      (See Schedule 1)                                              Relationship

                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal              Yes.     Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                        It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                              1,000-5,000                                25,001-50,000
    creditors                              50-99                                             5001-10,000                                50,001-100,000
                                           100-199                                           10,001-25,000                              More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                      $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                           $50,001 - $100,000                                $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                               $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                             $100,000,001 - $500 million                More than $50 billion

16. Estimated liabilities                  $0 - $50,000                                      $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                           $50,001 - $100,000                                $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                               $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                             $100,000,001 - $500 million                More than $50 billion




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                                  JOINT WRITTEN CONSENT
                                          OF THE
                                    BOARD OF MANAGERS
                                         AND THE
                                       SOLE MEMBER
                                            OF
                             WILLIAMS INDUSTRIAL SERVICES, LLC

                                                July 21, 2023

        The undersigned, constituting (i) all of the members of the Board of Managers (the “Board”), of
Williams Industrial Services, LLC, a Georgia limited liability company (the “Company”), and (ii) the sole
member of the Company, each hereby approve, adopt and consent to the following resolutions by joint
written consent (this “Joint Written Consent”):

Bankruptcy Cases

            WHEREAS, the Board has considered presentations by the management of, and the financial and
legal advisors to, the Company regarding the liabilities and liquidity situation of the Company, the strategic
alternatives available to it, and the effect of the foregoing on the Company’s business, creditors, and other
parties in interest;

          WHEREAS, the Board has consulted with the Company’s management, and financial and legal
advisors and other professionals, and fully considered each of the strategic alternatives available to the
Company;

            WHEREAS, based on its review of all available alternatives and advice provided by such
advisors and professionals, the Board has determined that it is in the best interest of the Company, its
affiliates and their respective stakeholders, including creditors and other parties in interest for the Company
and its affiliates to take the actions specified in the following resolutions;

        WHEREAS, the Company and certain of its affiliates that are listed on Exhibit A hereto (the
“Specified Affiliate”) anticipate filing voluntary petitions (collectively, the “Bankruptcy Cases”) under the
provisions of chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 10 - 1532 (the “Bankruptcy
Code”) in the United States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”)or any
other court having jurisdiction over the Bankruptcy Cases from time to time;

            NOW, THEREFORE, BE IT RESOLVED, that in the business judgment of the Board, it is
desirable and in the best interests of the Company (including a consideration of its creditors and other
parties in interest) that the Company shall be, and hereby is, in all respects, authorized to file, or cause to
be filed, a voluntary petition for relief commencing the Bankruptcy Cases in the Bankruptcy Court or other
court of competent jurisdiction; and be it further

           RESOLVED, that the Chief Executive Officer, the Chief Operating Officer, the Chief
Administrative Officer, the President, any Vice President, the Secretary, the Treasurer, the General Counsel
or any such other officer as may be appointed by the Board and authorized to act on behalf of the Company
(each, an “Officer” and collectively, the “Officers”) be, and each of them hereby is, authorized, empowered,
and directed to execute and file on behalf of the Company all petitions, schedules, lists, motions, papers, or
documents, and to take any and all action that they deem necessary or proper to obtain such relief, including,
without limitation, any action necessary to maintain the ordinary course operation of the Company’s
business; and be it further
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          RESOLVED, that the Board has considered its fiduciary duties under applicable law in exercising
its powers and discharging its duties, to act honestly and in good faith with a view to the best interests of
the Company (including a consideration of its creditors and other parties in interest) as a whole, and to
exercise the care, diligence, and skill that a reasonably prudent person would exercise in comparable
circumstances; and be it further

Retention of Professionals

           RESOLVED, that the Officers be, and each of them hereby is, authorized and directed to employ
the law firm of Thompson Hine LLP (“Thompson Hine”), as bankruptcy counsel, to represent and assist
the Company in carrying out its duties under the Bankruptcy Code, and to take any and all actions to
advance the Company’s rights and obligations, including filing any motions, objections, replies,
applications, or pleadings; and in connection therewith, each of the Officers, with power of delegation, is
hereby authorized and directed to execute appropriate retention agreements, pay appropriate retainers, and
to cause to be filed an appropriate application for authority to retain the services of Thompson Hine; and
be it further

           RESOLVED, that the Officers be, and each of them hereby is, authorized and directed to employ
the law firm of Chipman Brown Cicero & Cole, LLP (“Chipman Brown”), as local bankruptcy counsel, to
represent and assist the Company in carrying out its duties under the Bankruptcy Code, and to take any and
all actions to advance the Company’s rights and obligations, including filing any motions, objections,
replies, applications, or pleadings; and in connection therewith, each of the Officers, with power of
delegation, is hereby authorized and directed to execute appropriate retention agreements, pay appropriate
retainers, and to cause to be filed an appropriate application for authority to retain the services Chipman
Brown; and be it further

           RESOLVED, that the Officers be, and each of them hereby is, authorized and directed to employ
the firm of G2 Capital Advisors, LLC (“G2”), as financial advisor, to represent and assist the Company in
carrying out its duties under the Bankruptcy Code, and to take any and all actions to advance the Company’s
rights and obligations; and in connection therewith, each of the Officers, with power of delegation, is hereby
authorized and directed to execute appropriate retention agreements, pay appropriate retainers, and to cause
to be filed an appropriate application for authority to retain the services of G2; and be it further

           RESOLVED, that the Officers be, and each of them hereby is, authorized and directed to employ
the firm of Greenhill & Co., LLC (“Greenhill”), as investment banker, to represent and assist the Company
in carrying out its duties under the Bankruptcy Code, and to take any and all actions to advance the
Company’s rights and obligations; and in connection therewith, each of the Officers, with power of
delegation, is hereby authorized and directed to execute appropriate retention agreements, pay appropriate
retainers, and to cause to be filed an appropriate application for authority to retain the services of Greenhill;
and be it further

           RESOLVED, that the Officers be, and each of them hereby is, authorized and directed to employ
the firm of Epiq Bankruptcy Solutions LLC (“Epic”), as notice and claims agent, to represent and assist the
Company in carrying out its duties under the Bankruptcy Code, and to take any and all actions to advance
the Company’s rights and obligations; and in connection therewith, each of the Officers, with power of
delegation, is hereby authorized and directed to execute appropriate retention agreements, pay appropriate
retainers, and to cause to be filed appropriate applications for authority to retain the services of Epiq; and
be it further

          RESOLVED, that the Officers be, and each of them hereby is, authorized and directed to employ
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any other professionals to assist the Company in carrying out its duties under the Bankruptcy Code; and in
connection therewith, each of the Officers, with power of delegation, is hereby authorized and directed to
execute appropriate retention agreements, pay appropriate retainers and fees, and to cause to be filed an
appropriate application for authority to retain the services of any other professionals as necessary; and be it
further

          RESOLVED, that the Officers be, and each of them hereby is, with power of delegation,
authorized, empowered, and directed to execute and file all petitions, schedules, motions, lists, applications,
pleadings, and other papers and, in connection therewith, to employ and retain all assistance by legal
counsel, accountants, financial advisors, and other professionals and to take and perform any and all further
acts and deeds that each of the Officers deem necessary, proper, or desirable in connection with the
Company’s Bankruptcy Case, with a view to the successful prosecution of such case and be it further

Cash Collateral and Adequate Protection

           RESOLVED, that the Company will obtain benefits from the use of collateral, including cash
collateral, as that term is defined in section 363(a) of the Bankruptcy Code (the “Cash Collateral”), which
is security for (a) that certain revolving credit facility provided to the Company and certain of its affiliates
by certain financial institutions or other entities (together with their respective successors and assigns,
collectively, the “Revolving Lenders”), and PNC Bank, National Association, in its capacity as agent for
the Revolving Lenders (in such capacity, together with its successors and assigns, the “Revolving Agent”)
and (b) those certain term loans provided to the Company and certain of its affiliates by the financial
institutions, other entities and investors (together with their respective successors and assigns, collectively,
the “Term Loan Lenders”), and EICF Agent LLC, in its capacity as agent for the Term Loan Lenders (in
such capacity, together with its successors and assigns, the “Term Loan Agent” and collectively with the
Revolving Lenders, the Revolving Agent and the Term Loan Lenders, the “Secured Parties”; and be it
further

           RESOLVED, that in order to use and obtain the benefits of the Cash Collateral, and in accordance
with section 363 of the Bankruptcy Code, the Company will provide certain liens, claims, and adequate
protection to the Secured Parties (the “Adequate Protection Obligations”), as documented in a proposed
order in interim and final form (the “Cash Collateral Order”) and submitted for approval to the Bankruptcy
Court; and be it further

          RESOLVED, that the form, terms, and provisions of the Cash Collateral Order to which the
Company is or will be subject, and the actions and transactions contemplated thereby be, and hereby are
authorized, adopted, and approved, and each of the Officers of the Company be, and hereby is, authorized
and empowered, in the name of and on behalf of the Company, to take such actions and negotiate or cause
to be prepared and negotiated and to execute, deliver, perform, and cause the performance of its obligations
under, the Cash Collateral Order; and be it further

           RESOLVED, that the Company, as a debtor and debtor in possession under the Bankruptcy Code
be, and hereby is, authorized to incur the Adequate Protection Obligations, including granting liens on its
assets to secure such Obligations; and be it further

Debtor-in-Possession Financing

DIP Facilities

          WHEREAS, the Company desires to establish a senior secured superpriority debtor-in-
possession term loan facility (the “DIP Term Loan Facility”) with certain lenders, financial institutions, and
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investors (collectively with any agent, arranger and letter of credit issuer under the DIP Term Loan Facility,
the “DIP Term Loan Lenders”), pursuant to the terms and conditions of which the DIP Term Loan Lenders
will make delayed draw term loans and other extensions of credit available to the Company and certain of
its affiliates in an aggregate principal amount not to exceed $19,500,000 (the “DIP Term Loans”);

            WHEREAS, the Company desires to establish a senior secured superpriority debtor-in-
possession revolving credit facility (the “DIP Revolving Facility” and together with the DIP Term Loan
Facility, the “DIP Facilities”) with certain lenders, financial institutions and investors (collectively with any
agent, arranger and letter of credit issuer under the DIP Revolving Facility, the “DIP Revolving Lenders,”
and together with the DIP Term Loan Lenders, the “DIP Lenders”), pursuant to the terms and conditions of
which the Company and certain of its affiliates may borrow, repay and reborrow from the DIP Revolving
Lenders, from time to time, certain loans (the “DIP Revolving Loans”) and may procure from the DIP
Revolving Lenders letters of credit, with the aggregate principal amount of DIP Revolving Loans and the
aggregate face amount of letters of credit outstanding at any time not to exceed $12,000,000;

           WHEREAS, the proceeds of the DIP Term Loans shall be used, among other things, for
(i) general working capital purposes for the Company and its affiliates consistent with the detailed weekly
budget covering the successive 13-week period prepared by the Company (the “Budget”); (ii) paying
certain DIP transaction expenses and those documented fees and expenses payable to the DIP Term Loan
Lenders; (iii) paying fees, costs and expenses specifically related to the Bankruptcy Cases to the extent such
fees, costs and expenses are consistent with the Budget, are approved by the Bankruptcy Court, and relate
solely to fees, costs and expenses of the Company’s professionals (allowance of such fees shall be subject
to final approval of the Bankruptcy Court) or professionals retained by the DIP Term Loan Lenders; (iv)
making certain payments on account of prepetition obligations (including “critical vendor payments”) of
the Company and its affiliates as approved by the Bankruptcy Court; (v) paying the fees, costs and expenses
of lead counsel to the official committee of unsecured creditors incurred in the investigation of the liens,
security interests and claims of secured creditors as approved by the Bankruptcy Court and (vi) paying any
other amounts included in the Budget, including without limitation adequate protection payments;

          WHEREAS, the proceeds of the DIP Revolving Loans shall be used for, among other things, (i)
general operating, corporate, and working capital purposes of the Company and its affiliates in the ordinary
course of business; (ii) reasonable and documented costs, fees, and other expenses of the DIP Revolving
Lenders; (iii) upon entry of an interim DIP order by the Bankruptcy Court (the “Interim DIP Order”),
immediately applying the amount collected after the Interim DIP Order and prior to the final DIP order
entered by the Bankruptcy Court (the “Final DIP Order”) on account of the prepetition obligations owing
by the Company and its affiliates (the “Interim Roll Up”) and the DIP Revolving Loan obligations
outstanding in accordance with the terms of the DIP Revolving Loan Documents (defined below) and the
Interim DIP Order, in such order and manner determined by the DIP Revolving Lenders; and (iv) upon
entry of the Final DIP Order, exchanging and substituting the remaining amount of revolving loans
outstanding under the prepetition revolving loan credit agreement on a cashless, dollar-for-dollar basis with
the DIP Facility (the “Final Roll-Up”);

           WHEREAS, in connection with the DIP Facilities, the DIP Lenders are requiring that
substantially the same guarantors (the “Existing Guarantors”) that guarantee the obligations under the
existing credit agreements (the “Existing Credit Agreements”) (collectively, the “Guarantors” and, together
with the Company and any other affiliate of the Company that grants a lien to secure the DIP Facilities, the
“Loan Parties”) guarantee the obligations under the DIP Facilities (including, without limitation, all
obligations with respect to hedging agreements, bank products, treasury services, cash management
obligations, and other similar transactions owing at any time to any of the DIP Lenders, their respective
affiliates or certain other designated counterparties), on a joint and several basis (collectively, the “DIP
Guaranties”);
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          WHEREAS, as security for the obligations under the DIP Facilities, the DIP Lenders are
requiring that the Loan Parties grant continuing security interests in substantially the same collateral
securing the Company’s and the Existing Guarantors’ obligations under the Existing Credit Agreements
and senior superpriority priming liens on such assets of the Loan Parties that are agreed to by the Company
and the DIP Lenders (subject to exceptions and limitations to be set forth in any orders of the Bankruptcy
Court concerning any of the DIP Facilities (the “DIP Financing Orders”) and the other DIP Documents (as
defined below) (collectively, the “DIP Collateral”);

           WHEREAS, in connection with the DIP Facilities and the transactions contemplated thereby, it
is contemplated that the Company may execute one or more term sheets evidencing the initial terms thereof
and enter into two credit agreements in such forms as may be approved by the Officers of the Company, or
any one of them, and the Company, the other Loan Parties may be required to enter into certain other
instruments, agreements or documents related thereto, including, without limitation, financing term sheets
or proposals, intellectual property security agreements, cash collateral agreements, assignment agreements,
stock powers, mortgages, deeds of trust, debentures, share pledges, pledge agreements, security agreements,
guarantees, other collateral documents, reaffirmation agreements, intercreditor or subordination
agreements, forbearance agreements, intercompany subordination agreements, intercompany notes,
commitment letters, engagement letters, fee letters, and payoff letters in such forms as may be approved by
any Officer (all of the foregoing, collectively with the DIP Guaranties, the “DIP Documents”);

           WHEREAS, as the Board has determined that the DIP Facilities are in the best interests of the
Company (including a consideration of its creditors and other parties in interest), its affiliates and their
respective stakeholders, and, that it is in the best interests of the Company (including a consideration of its
creditors and other parties in interest), its affiliates and their respective stakeholders to (i) consummate the
financing contemplated by the DIP Facilities, (ii) execute and deliver the DIP Documents to which it is a
party and (iii) authorize the Officers to take any and all actions as may be deemed appropriate to effect and
perform the transactions contemplated hereby and thereby;

           NOW, THEREFORE, BE IT RESOLVED, that (i) the DIP Facilities, in the amounts and on the
terms and conditions set forth in the term sheets provided to the Board, or such other amounts, terms and
conditions as deemed necessary, desirable or appropriate by any Officer, (ii) the transactions contemplated
thereby (including the borrowing of loans thereunder (including pursuant to any incremental or increase
facility provisions contemplated by the DIP Documents) and issuance or deemed issuance of debt
thereunder) and (iii) the execution and delivery by the Company of any DIP Documents evidencing or in
connection with the transactions contemplated by the DIP Facilities and the performance by the Company
of all of its obligations thereunder and under the DIP Financing Orders, be, and they hereby are, in all
respects, authorized, ratified, approved and adopted by the Board on behalf of the Company; and be it
further

           RESOLVED, that the Officers be, and each of them hereby is, authorized to, in the name of and
on behalf of the Company, (i) negotiate, execute, deliver and perform the Company’s obligations under the
DIP Documents, including, without limitation, the granting and the reaffirmation (as applicable) of the
security interests and liens in the DIP Collateral contemplated thereby, the cash collateralization (including
the granting of the security interests and liens in such cash collateral pursuant thereto) and the incurrence
of other obligations contemplated thereunder, and carry out the Company’s duties thereunder, (ii) borrow
any loans or incur other indebtedness in any amounts according to the terms of the DIP Documents, (iii)
extend or renew any loans, advances or other extensions of credit or any installment of principal or interest
thereof or any indebtedness owing to any DIP Lender, and (iv) negotiate, execute and deliver all other
agreements, instruments and documents in connection therewith and any and all amendments, waivers or
other modifications thereto and take or cause to be taken any and all such further actions, in each case on
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such terms and conditions as any Officer may deem necessary, desirable or appropriate, in each case, the
delivery thereof or the taking of such action by any such Officer to conclusively evidence the approval
thereof by the Board; and be it further

           RESOLVED, that the Company be, and hereby is, authorized and empowered and directed to
grant or reaffirm (as applicable) security interests in, and pledge its right, title and interest in, substantially
all present and after-acquired assets and properties of the Company, all proceeds thereof, including, real
property, trademarks, patents, copyrights and licenses therefor, the capital stock of or equity interests in its
subsidiaries and the proceeds of any of the foregoing, as required or contemplated by the transactions, the
DIP Documents, the DIP Financing Orders and/or any of the other agreements entered into pursuant thereto
or in connection therewith, or as any Officer may deem necessary, advisable or proper to carry out the
terms, intents and purposes of the DIP Documents and the DIP Financing Orders, the transactions
contemplated thereby and the resolutions related thereto, subject to such exceptions and limitations as set
forth in any applicable DIP Document or DIP Financing Order; and be it further

           RESOLVED, that the filing of financing statements and amendments and continuation statements
to financing statements, other filings, recordations, registrations or any other document, in any jurisdictions
or with any filing offices as contemplated by or specified in the relevant DIP Documents or otherwise
advisable and/or the entering into of any other agreement or instrument, necessary or advisable to create,
register or perfect the security interests granted pursuant to the relevant DIP Documents or any related
transaction document is hereby authorized in such form as any Officer shall approve; and be it further

General Authority to Implement DIP Financing Related Resolutions

           RESOLVED, that the Officers be, and each of them hereby is, authorized and empowered, on
behalf of and in the name of the Company, to execute, deliver, perform, verify and/or file, or cause to be
executed, delivered, performed, verified and/or filed (or direct others to do so on their behalf as provided
herein) all necessary documents, including, without limitation, all petitions, affidavits, statements,
schedules, motions, lists, applications, pleadings, other papers, additional security documents, guarantees,
reaffirmations, control agreements, waivers of or amendments to existing documents, and to negotiate the
forms, terms and provisions of, and to execute and deliver any amendments, modifications, waivers or
consent to any of the foregoing as may be approved by any Officer, which amendments, modifications,
waivers or consents may provide for consent payments, fees or other amounts payable or other
modifications of or relief under such agreements or documents, the purpose of such amendments,
modifications, waivers or consents being to facilitate consummation of the transactions contemplated by
the foregoing DIP financing related resolutions or for any other purpose, and, in connection with the
foregoing, to employ and retain all assistance by legal counsel, investment bankers, accountants,
restructuring professionals or other professionals, and to take any and all action which such Officer or
Officers deem necessary or proper in connection with the transactions contemplated by the DIP Documents
or the DIP Financing Orders, including any and all action necessary or proper in connection with obtaining
authorization to use cash collateral and/or debtor-in-possession financing (in such amounts and on such
terms as may be agreed by any Officer, including the grant of replacement and additional liens, as is
necessary or proper for the continuing conduct of the affairs of the Company and certain of its affiliates),
including the DIP Facilities and refinancings or amendments thereof, with a view to the successful
prosecution of the Bankruptcy Cases contemplated by these resolutions and the successful consummation
of the transactions contemplated by these resolutions including, without limitation, any action necessary or
proper to maintain the ordinary course operation of the Company’s business; and be it further

         RESOLVED, that the Officers be, and each of them hereby is, authorized to execute, deliver and
perform any and all special powers of attorney as such Officer may deem necessary or desirable to facilitate
consummation of the transactions contemplated by the foregoing DIP financing related resolutions,
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pursuant to which such Officer will make certain appointments of attorneys to facilitate consummation of
the transactions contemplated by the foregoing resolutions as the Company’s true and lawful attorneys and
authorize each such attorney to execute and deliver any and all documents of whatsoever nature and
description that may be necessary or desirable to facilitate consummation of the transactions contemplated
by the foregoing resolutions; and be it further

           RESOLVED, that the Officers be, and each of them hereby is, authorized and empowered, on
behalf of and in the name of the Company, to negotiate, execute deliver, record and/or file all documents,
agreements and instruments (including, without limitation, (i) Uniform Commercial Code financing
statements, (ii) blocked account control agreement, (iii) account control agreements, and (iv) any DIP
Collateral (including one or more stock certificates (or, as applicable, other certificates) evidencing the
capital stock (or other equity interest, as applicable) of its subsidiaries or notes evidencing debt owed to it
(accompanied by one or more stock powers (or, as applicable, other transfer powers) or note powers duly
executed in blank by any Officer))), and to do any and all other acts as may be required or as they, or any
of them, may deem necessary or proper to carry out and perform, to give effect to, or to cause the Company
to comply with, the terms of, or the transactions contemplated by the DIP Documents and any other related
agreement or document that any Officer may deem necessary or proper to consummate the transactions
contemplated by the foregoing, such Officer’s performance of any such act and his or her execution and
delivery of any such document, agreement or instrument to be conclusive evidence of the Company’s
approval thereof, and to honor and discharge its obligations thereunder; and be it further

           RESOLVED, that the Officers, and each of them hereby is, authorized and empowered, on behalf
of and in the name of the Company, to amend, supplement or otherwise modify from time to time the terms
of any documents, certificates, instruments, agreements, financing statements, notices, undertakings or
other writings referred to in the foregoing resolutions; and be it further

           RESOLVED, that the Officers be, and each of them hereby is, authorized and empowered, on
behalf of and in the name of the Company, to take or cause to be taken any and all such further action and
to execute, deliver, perform, verify and/or file, or cause to be executed, delivered, performed, verified and/or
filed (or direct others to do so on its behalf as provided herein) all such further documents, agreements,
instruments, financing statements, notices, undertakings, certificates and other writings to effectuate the
purpose and intent of any and all of the foregoing DIP financing related resolutions; and be it further

           RESOLVED, that the Officers be, and each of them hereby is, authorized and empowered, on
behalf of and in the name of the Company, to pay and direct the payment of all fees and expenses (including
fees to DIP Lenders in connection with the DIP Facilities) as in the judgment of such Officer or Officers
shall be necessary, proper, appropriate, desirable or advisable of such Officer or Officers to effectuate the
purpose and intent of any and all of the foregoing DIP financing related resolutions; and be it further

        RESOLVED, that the omission from these DIP financing related resolutions of any agreement,
document or other arrangement contemplated by any of the agreements, instruments, filings or other
documents described in the foregoing DIP financing related resolutions or any action to be taken in
accordance with any requirement of any of the agreements, instruments, filings or other documents
described in the foregoing DIP financing related resolutions shall in no manner derogate from the authority
of the Officers to take all actions necessary, desirable, proper, advisable, or appropriate to consummate,
effectuate, carry out or further the transaction contemplated by, and the intent and purposes of, the foregoing
DIP financing related resolutions.

Asset Purchase Agreement and Related Transactions
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         WHEREAS, Williams Industrial Services Group, Inc., a Delaware corporation (“Parent”) and
certain of its subsidiaries, including the Williams Industrial Services Group, L.L.C, a Delaware limited
liability company and the Company’s sole member (the “Sole Member”), the Company, Williams Plant
Services, LLC, a Georgia limited liability company (“WPS”), Construction & Maintenance Professionals,
LLC, a Georgia limited liability company (“CMP”), WISG Electrical, LLC, a New York limited liability
company (“Electrical”), and Williams Specialty Services, LLC, a Georgia limited liability company
(“WSS” and, together with Parent, the Company, Sole Member, CMP, Electrical, WPS and WSS, the
“Sellers”) and wish to sell, and Energy Solutions Nuclear Services, LLC (the “Buyer”), wishes to purchase
from the Sellers, substantially all of WPS’s and WSS’ assets, and certain of Parent’s, the Sole Member’s,
Company’s, Electrical’s and CMP’s assets, to the extent relating to, as applicable, (i) the business of
providing a broad range of construction and maintenance services to customers in the nuclear, conventional
power (fossil, hydro, natural gas), energy delivery, water and wastewater, pulp & paper, chemical, and
government industries, (ii) the non-unionized pulp and paper operations solely to the extent conducted
pursuant to certain contracts of WIS and (iii) the business as conducted by WPS and WSS (collectively, the
“Business”);


         WHEREAS, after consultation with the Company’s financial and legal advisors and consideration
of such other factors deemed to be appropriate by the Board, each of the Board and the Sole Member has
determined that the Asset Purchase Agreement to be entered into between the Sellers and the Buyer,
substantially in the form provided to the Board (the “Purchase Agreement”), and the transactions
contemplated thereby, are advisable and in the best interests of the Company (including a consideration of
its creditors and other parties in interest);

        WHEREAS, all capitalized terms that are used but not defined herein shall have the meanings
ascribed to such terms in the Purchase Agreement;

         WHEREAS, Sellers and Buyer intend to effectuate the transactions by the Purchase Agreement,
including the purchase and sale of the Business and Transferred Assets and the assumption of the Assumed
Liabilities, pursuant to Sections 363 and 365 of the Bankruptcy Code, subject to approval of the Bankruptcy
Court;

       WHEREAS, each of the Board and the Sole Member wishes to approve the transactions
contemplated by the Purchase Agreement and certain other matters related thereto; and

         NOW, THEREFORE, BE IT RESOLVED, that each of the Board and the Sole Member has
determined that the terms of the Purchase Agreement and the transactions contemplated thereby, are in the
best interests of, the Company; and be it further

        RESOLVED, that the terms of the Purchase Agreement and the transactions contemplated thereby,
are hereby approved, adopted and ratified in all respects; and be it further

          RESOLVED, that the Bill of Sale, Assignment and Assumption Agreement, the IP Assignment
Agreement, the Escrow Agreement, the TSA, and any other agreements, instruments or documents
contemplated by the Purchase Agreement or the transactions contemplated thereby, including a
substantially complete draft of a sale order of the Court, or required to be delivered at the Closing, certain
of which may be attached as exhibits to the Purchase Agreement, are hereby approved, adopted and ratified
in all respects; and be it further

        RESOLVED, that the Officers be, and each of them hereby is, authorized and directed to execute
and deliver the Purchase Agreement, including all exhibits and schedules attached thereto, in the name and
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on behalf of the Company with such additions, deletions, or changes therein (including, without limitation,
any additions, deletions, or changes to any schedules or exhibits thereto), as the Officers executing the same
shall approve, their approval thereof to be conclusively evidenced by the execution and delivery of the
Purchase Agreement, and such exhibits and schedules attached thereto, in each case, in the name of and on
behalf of the Company, and to perform the obligations of the Company thereunder, and all actions taken by
such Officers in furtherance of the foregoing before the date hereof are hereby approved and ratified in all
respects; and be it further

         RESOLVED, that the Officers be, and each of them hereby is, authorized and directed to file the
appropriate documents with all foreign, federal, state (including the State of Delaware) and local officials
to be filed to implement the transactions contemplated by the Purchase Agreement as well as all other
applicable filings; and be it further

        RESOLVED, that the Officers be, and each of them hereby is, authorized and directed to execute
and deliver the Purchase Agreement in the name of and on behalf of the Company, and to perform the
obligations of the Company thereunder, with such additional changes to the Purchase Agreement as the
Officers executing the same shall approve, their approval thereof to be conclusively evidenced by the
execution and delivery of the Purchase Agreement and all actions taken by such Officers before the date
hereof are hereby approved and ratified in all respects; and be it further

         RESOLVED, that the Officers be, and each of them hereby is, authorized and directed to file the
appropriate documents with all foreign, federal, state (including the State of Delaware) and local officials
to be filed to implement the transactions contemplated by the Purchase Agreement as well as all other
applicable filings; and be it further

         RESOLVED, that the Officers be, and each of them hereby is, authorized and directed to make,
execute, file and deliver any and all consents, certificates, documents, instruments, amendments, papers or
writings as may be required to comply with any federal or state securities or corporation law in connection
with or in furtherance of the foregoing, and to do any and all other acts necessary or desirable to effectuate
the foregoing resolutions, the execution and delivery thereof by such Officer or Officers to be deemed
conclusive evidence of the approval by the Company of the terms, provisions and conditions thereof; and
be it further

         RESOLVED, that the Officers be, and each of them hereby is, authorized and directed to make,
execute, file and deliver, in the name of and on behalf of the Company, and any all consents, certificates,
documents, applications, instruments, amendments, papers or writings as may be required to effect the
transactions contemplated by the Purchase Agreement and to do any and other acts necessary or desirable
in connection with the transactions contemplated by the Purchase Agreement; and be it further


General Authorizations

         RESOLVED, that the Officers be, and each of them hereby is, authorized from time to time to do,
or cause to be done, all such other acts and things and to execute, deliver and, if applicable, file with the
appropriate regulatory agencies, all such certificates, agreements, instruments, applications, schedules,
forms and documents in the name of and on behalf of the Company, including, without limitation, all papers
relating to the transactions contemplated by the Purchase Agreement, the Bankruptcy Cases and the DIP
Financing, and to pay all related fees and expenses, as each such Officer shall deem necessary or appropriate
to consummate the transactions contemplated by the Purchase Agreement, the Bankruptcy Cases, and the
DIP Financing, and to otherwise carry out the intent and accomplish the purposes of the foregoing
resolutions; and be it further
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         RESOLVED, that any actions taken by the Officers prior to the adoption of the foregoing
resolutions, in connection with the matters described therein, be, and each of them hereby are, ratified,
confirmed and approved in all respects; and be it further

        RESOLVED, that the Officers be, and each of them hereby is, authorized and empowered, for and
on behalf of the Company, to execute and deliver all such further documents and take all such further
actions as they or any of them deem necessary, appropriate or desirable to fully carry out the intent and
purposes of the foregoing resolutions, the execution and delivery or taking conclusively to evidence the
necessity, appropriateness or desirability thereof; and be it further

        RESOLVED, that all acts lawfully done or actions lawfully taken by any Officer, or by any
employees or agents of the Company, on or before the date hereof in connections with the transactions
contemplated by the foregoing resolutions be, and they hereby are, ratified, confirmed and approved in all
respects by the Board; and be it further

       RESOLVED, that the Board has received sufficient notice of the actions and transactions relating
to the matters contemplated by the foregoing resolutions, as may be required by the organizational
documents of the Company, or hereby waive any right to have received such notice; and be it further

        RESOLVED, that this Joint Written Consent be inserted into the Company’s minute book.

                                    [signature page follows]
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                                        EXHIBIT A

                                 SPECIFIED AFFILIATES

1. Williams Specialized Services, LLC, a Georgia limited liability company
2. Williams Plant Services, LLC, a Georgia limited liability company
3. WISG Electrical, LLC, a New York limited liability company
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